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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                        Plaintiff,

        v.                                         No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                        Defendants.


   DEFENDANTS’ MOTION IN LIMINE NO. 10: TO PRECLUDE EVIDENCE AND
         ARGUMENT REGARDING CONTRACT INTERPRETATION

       Pursuant to the Court’s Order (Dkt. 176), Defendants Celltrion Healthcare Co., Ltd.,

Celltrion, Inc., and Hospira Inc. (collectively “Defendants”), hereby move this Court to exclude

the opinions of Mr. Richard Lit on the interpretation or meaning of contracts between Defendants

and Janssen. As set forth in Defendants’ supporting Memorandum, Mr. Lit’s opinions regarding

contract interpretation should be excluded because (1) they are directed to impermissible subject

matter for expert testimony, and (2) Mr. Lit lacks proper foundation to give them.

       WHEREFORE, Defendants respectfully request that this Court grant Defendants’ motion

in limine and exclude the opinions of Mr. Lit regarding contract interpretation.

                                 REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument may assist the Court and therefore request oral argument

on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.
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Dated: May 18, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/ Andrea L. Martin, Esq. ______________
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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with Plaintiff’s

counsel and attempted in good faith to resolve or narrow the issue raised in this motion. No

agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                  /s/ Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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